Case 6:20-cv-01657-CEM-GJK Document 6-5 Filed 09/09/20 Page 1 of 3 PageID 207




                     Joy McCormack
                    ATTACHMENT 3
Case 6:20-cv-01657-CEM-GJK Document 6-5 Filed 09/09/20 Page 2 of 3 PageID 208




                                       CERTIFICATION
{PRIVATE}
                           With respect to: Highrise Advantage LLC


      1.    I, Sandra A. Jung, am employed by National Futures Association ("NF A") as
            Registration Manager. I also have served as Deputy Record Custodian since May 6,
            1996. NFA is a futures association registered with the U.S. Commodity Futures Trading
            Commission ("CFTC") under Section 17 of the Commodity Exchange Act ("Act").
            7 U.S.C. § 21 (2006).


      2.    Under Sections 4f, 4k, 4n, 8a and 19 of the Act, the CFTC is authorized to collect and
            maintain registration records for each category of registration under the Act. 7 U.S.C. §§
            6f, 6k, 6n, 12a and 23 (2006). Under Sections 8a(l0) and 170 of the Act, 7 U.S.C. §§
            12a(l0) and 210 (2006), the CFTC has delegated to NFA the responsibility and authority
            to process and act as custodian of the official CFTC registration records for all categories
            of registration under the Act.


      3.    Pursuant to the CFTC's delegation of responsibility and authority, NF A receives,
            processes, stores and records all official CFTC registration records in the normal,
            ordinary and regular course of NF A's business. NF A has adopted Registration Rules,
            which the CFTC has reviewed and approved, governing access to and certification of the
            official CFTC registration records.


      4.    As Deputy Record Custodian, I am responsible for NFA's receipt, processing, storage and
            recording of all official CFTC registration records. As such, I am familiar with these
            records and the system that NFA uses to maintain these records.


      5.    In accordance with Rules 803(6), 803(7), and 902(11) of the Federal Rules of Evidence,
            CFTC registration records: (1) are regularly kept for persons and entities registered with
            the CFTC; (2) are made at or near the time by, or from information transmitted by, a
            person with knowledge of those records; (3) are kept in the course of a regularly
            conducted business activity; and (4) are made as a regular practice in the course of
            regularly conducted business activity.




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Case 6:20-cv-01657-CEM-GJK Document 6-5 Filed 09/09/20 Page 3 of 3 PageID 209



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        6.          Under my supervision, I have caused to be conducted a review of these official CFTC
                    records from September 2014 to the present, which disclosed the following information:

                            There is no record of a registration in any capacity for Highrise
                            Advantage LLC ("HA"). HA has filed a Notice of Claim of
                            Exemption from Commodity Pool Operator registration pursuant to
                            CFTC Rule 4.13(a)(2) with reference to Highrise Advantage, which
                            is listed as a commodity pool currently operated by HA.

                    I declare under penalty of perjury under the lmvs of the United States that the foregoing is
true and correct.



Date: April 21, 2020

                                                             Deputy Record Custodian

                                                             National Futures Association
                                                             300 South Riverside Plaza
                                                             Suite 1800
                                                             Chicago, Illinois 60606




                                                                                                   NF A-0000000019-00002
